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UNITED STATES DISTRICT COURT In ee
SOUTHERN DISTRICT OF NEW YORK

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JEFFREY LAYDON, on behalf of himself and all others similarly
situated,

Plaintiff,
- against -

THE BANK OF TOKYO-MITSUBISHI UF], LTD., THE
SUMITOMO TRUST AND BANKING CO., LTD., THE
NORINCHUKIN BANK, MITSUBISHI UF] TRUST AND No. 12-cv-3419 (GBD)
BANKING CORPORATION, SUMITOMO MITSUI BANKING
CORPORATION, J.P. MORGAN CHASE & CO., J.P. MORGAN
CHASE BANK, NATIONAL ASSOCIATION, J.P. MORGAN
SECURITIES PLC, MIZUHO CORPORATE BANK, LTD.,
DEUTSCHE BANK AG, THE SHOKO CHUKIN BANK, LTD.,
SHINKIN CENTRAL BANK, UBS AG, UBS SECURITIES JAPAN
CO. LTD., THE BANK OF YOKOHAMA, LTD., SOCIETE
GENERALE SA, THE ROYAL BANK OF SCOTLAND GROUP
PLC, THE ROYAL BANK OF SCOTLAND PLC, RBS SECURITIES
JAPAN LIMITED, BARCLAYS BANK PLC, CITIBANK, NA,
CITIGROUP, INC., CITIBANK, JAPAN LTD., CITIGROUP
GLOBAL MARKETS JAPAN, INC., COOPERATIEVE
CENTRALE RAIFFEISEN-BOERENLEENBANK B.A., HSBC
HOLDINGS PLC, HSBC BANK PLC, LLOYDS BANKING
GROUP PLC, ICAP EUROPE LIMITED, R.P. MARTIN
HOLDINGS LIMITED, MARTIN BROKERS (UK) LTD.,
TULLETT PREBON PLC, AND JOHN DOE NOS. 1-50,

Defendants.

 

 

 

[PROBSSED)] FINAL APPROVAL ORDER OF SETTLEMENT WITH THE BANK OF
YOKOHAMA, LTD., SHINKIN CENTRAL BANK, THE SHOKO CHUKIN BANK,
LTD., SUMITOMO MITSUI TRUST BANK, LIMITED, AND RESONA BANK, LTD.

 

 
 

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This matter came before the Court for a duly-noticed hearing on December 19, 2019 (the
“Fairness Hearing”), upon the Plaintiff's Motion for Final Approval of Class Action Settlement with
The Bank of Yokohama, Ltd. (“The Bank of Yokohama”), Shinkin Central Bank (“Shinkin”), The
Shoko Chukin Bank, Ltd. (“Shoko Chukin”), Sumitomo Mitsui Trust Bank, Limited and its
predecessors (“Sumitomo”),' and Resona Bank, Ltd. (“Resona”) (collectively, the “Settling
Defendants” and, individually, a “Settling Defendant”), which was consented to by the Settling
Defendants (together with Plaintiff, the “Parties’’). Due and adequate notice of the Settlement
Agreement’ having been given to the members of the Settlement Class, the Fairness Hearing having
been held and the Court having considered all papers filed and proceedings had herein, and
otherwise being fully informed in the premises and good cause appearing therefore,

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

1, This Final Approval Order hereby incorporates by reference the definitions in the
Settlement Agreement and all terms used herein, except as otherwise expressly defined herein, shall
have the same meanings as set forth in the Settlement Agreement.

2. For purposes only of the settlement of the Released Claims set forth in the
Settlement Agreement (the “Settlement”), the Court hereby finally certifies the Settlement Class, as
defined in the Court’s September 11, 2019 Order Preliminarily Approving Proposed Settlement with
The Bank of Yokohama, Ltd., Shinkin Central Bank, The Shoko Chukin Bank, Ltd., Sumitomo
Mitsui Trust Bank, Limited, and Resona Bank, Ltd., Scheduling Hearing for Final Approval Thereof,
and Approving the Proposed Form and Program of Notice to the Class (the “Preliminary Approval

Order”). ECF No. 970. Based on the record, the Court reconfirms that the applicable provisions of

 

' Sumitomo Mitsui Trust Bank, Limited was formerly known, and was sued as The Sumitomo Trust and Banking Co.,
Ltd. (STB”). The Chuo Mitsui Trust and Banking Company, Limited, which was also sued in the Laydon action, merged
into STB prior to the action to form Sumitomo Mitsui Trust Bank, Limited.

? The “Settlement Agreement” is the Amended Stipulation and Agreement of Settlement with the Settling Defendants
entered into on September 5, 2019.

 

 
 

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Rule 23 of the Federal Rules of Civil Procedure have been satisfied for purposes only of the
Settlement.

3. In so holding, the Court finds that, solely for purposes of settlement, the Settlement
Class meets all of the applicable requirements of FED. R. CIv. P. 23(a) and (b)(3). The Court hereby
finds, in the specific context of this Settlement, that: (i) the Settlement Class is so numerous that
joinder of all members of the Settlement Class is impracticable, FED. R. Crv. P. 23(a)(1); Gi) common
questions of law and fact exist with regard to the Settling Defendants’ alleged manipulation of Yen-
LIBOR, Euroyen TIBOR, and the prices of Euroyen-Based Derivatives, FED. R. CIV. P. 23(a)(2); (iii)
the Plaintiff's claims in this litigation are typical of those of the members of the Settlement Class,
FED. R. CIV. P. 23(a)(3); and (iv) the Plaintiff's interests do not conflict with, and are co-extensive
with, those of absent members of the Settlement Class, all of whose claims arise from the identical
factual predicate, and the Plaintiff and Class Counsel have adequately represented the interests of all
members of the Settlement Class, FED. R. CIv. P. 23(a)(4). The Court also finds that common issues
of fact and law predominate over any questions affecting only individual members and that a class
action is superior to other available methods for fairly and efficiently adjudicating this controversy.
FED. R. Crv. P. 23(b)(3).

4, This Court has personal jurisdiction over the Plaintiff, the Settling Defendants (in
this Action only and for purposes of this Settlement), and all members of the Settlement Class and
subject matter jurisdiction over the Action to approve the Settlement Agreement and all exhibits
attached thereto under 28 U.S.C. § 1331.

5. The Court finds that the mailed notice, publication notice, website, and Class Notice
plan implemented pursuant to the Settlement Agreement and the Court’s Preliminary Approval
Order: (a) constituted the best practicable notice; (b) constituted notice that was reasonably

calculated, under the circumstances, to apprise members of the Settlement Class of the pendency of

 

 
 

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this Action and the action captioned Sonterra Capital Master Fund Ltd. et al. v. UBS AG et al., No. 15-
cv-5844 (GBD) (S.D.N.Y.) (‘Sonterra’) (collectively, the ““Actions”’), of their right to exclude
themselves from or object to the proposed Settlement, of their right to appear at the Fairness
Hearing, of the Plan of Allocation, and of Class Counsel’s application for the Attorneys’ Fees Award
and any Incentive Award, and for reimbursement of expenses associated with the Actions; (c)
provided a full and fair opportunity to all members of the Settlement Class to be heard with respect
to the foregoing matters; and (d) met all applicable requirements of Federal Rule of Civil Procedure
23, Due Process, and any other applicable rules or law. Based upon the Settling Defendants’
submission to the Court dated September 20, 2019, the Court further finds that the Settling
Defendants have complied with the obligations imposed on them under the Class Action Fairness
Act of 2005, 28 U.S.C. § 1715.

6. The Court finds that 4 members of the Settlement Class have validly requested
to be excluded from the Settlement Class as it relates to the Settlement. Those excluded members of
the Settlement Class are identified at ECF No. [pob—l

7. The Court finds that Lf . objections to the proposed Settlement have been
submitted. Notwithstanding the [lack of] objections, the Court has independently reviewed and
considered all relevant factors and has conducted an independent examination into the propriety of
the proposed Settlement. [The Court finds all objections are without merit and they are hereby
overruled.]

8. It is hereby determined that Plaintiff and the Releasing Parties are bound by the
Settlement Agreement and this Final Approval Order, and the Action and the Released Claims
against any of the Released Parties, as provided under the Settlement Agreement, are hereby

dismissed with prejudice and released.

 

 
 

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9. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court hereby finally
approves the Settlement, as set forth in the Settlement Agreement. This Court finds that the
Settlement meets all requirements of Rule 23(e) of the Federal Rules of Civil Procedure and 1s, in all
respects, fair, reasonable and adequate, and in the best interests of the Settlement Class, including
the Plaintiff. This Court further finds that the Settlement set forth in the Settlement Agreement ts
the result of arm’s-length negotiations between experienced counsel representing the interests of the
Parties, that Class Counsel and the Plaintiff adequately represented the Settlement Class for the
purpose of entering into and implementing the Settlement Agreement, that the relief provided for
the Settlement Class is adequate, and that the Settlement Agreement and Plan of Allocation treats
class members equitably relative to each other. Accordingly, the Settlement embodied in the
Settlement Agreement is hereby approved in all respects. The Parties are hereby directed to carry
out the Settlement Agreement in accordance with all of its terms and provisions, including the
termination provisions.

10, Notwithstanding the entry of this Final Approval Order, if the Settlement
Agreement is validly terminated by the Plaintiff or the Settling Defendants, is disapproved in whole
or in part by the Court, any appellate court, or any other court of review, or does not become final,
then the provisions of this Final Approval Order dismissing the Plaintiffs claims shall be null and
void with respect to such Settlement; the Plaintiffs claims shall be reinstated; the Settling
Defendants’ defenses shall be reinstated; the certification of the Settlement Class and final approval
of the proposed Settlement, and all actions associated with them, including but not limited to any
requests for exclusion from the Settlement previously submitted and deemed to be valid, shall be
vacated and be of no force and effect; the Settlement Agreement, including its exhibits, and any and
all negotiations, documents, and discussions associated with it and the releases set forth herein, shall

be without prejudice to the rights of any Party, and of no force or effect; and the Parties shall be

 
 

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returned to their respective positions before the Settlement Agreement was signed, Notwithstanding
the language in this Section, any provision(s) in the Settlement Agreement that the Parties have
agreed shall survive its termination shall continue to have the same force and effect intended by the
Parties.

11. The Settlement Fund defined in the Settlement Agreement has been established as a
trust and shall be established as a fiduciary account (the “Settlement Fiduciary Account’). The
Court further approves the establishment of the Settlement Fiduciary Account under the Settlement
Agreement as a qualified settlement fund pursuant to Section 468B of the Internal Revenue Code of
1986, as amended, and the Treasury Regulations promulgated thereunder.

12. Without affecting the finality of the Final Approval Order for purposes of appeal,
the Court reserves exclusive jurisdiction over the implementation and enforcement of the Settlement
Agreement and the Settlement contemplated thereby and over the enforcement of this Final
Approval Order. The Court also retains exclusive jurisdiction to resolve any disputes that arise out
of or relate to the Settlement Agreement, the Settlement, or the Settlement Fund (except for such
disputes and controversies as are subject to Section 37 of the Settlement Agreement, which disputes
and controversies shall be governed by the respective terms of such section), to consider or approve
administration costs and fees, including but not limited to fees and expenses incurred to administer
the Settlement after the entry of the Final Approval Order, and to consider or approve the amounts
of distributions to members of the Settlement Class. In addition, without affecting the finality of
this Final Approval Order, the Plaintiff, the Settling Defendants, and the Settlement Class hereby
irrevocably submit to the exclusive jurisdiction of the United States District Court for the Southern
District of New York for any suit, action, proceeding, or dispute arising out of or relating to this

Final Approval Order or the Settlement Agreement. Any disputes involving the Plaintiff, Settling

 
 

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Defendant, or members of the Settlement Class concerning the implementation of the Settlement
Agreement shall be submitted to the Court.

13. Each member of the Settlement Class must execute a release and covenant not to
sue in conformity with the Settlement Agreement, as incorporated into the Proof of Claim and
Release form, in order to receive the member of the Settlement Class’s share(s), if any, of the Net
Settlement Fund defined in the Settlement Agreement. If the member of the Settlement Class
submitted a timely Proof of Claim and Release pursuant to the class notice dated June 22, 2016
related to the $58 million settlements with Defendants R.P. Martin Holdings Limited, Martin
Brokers (UK) Ltd., Citigroup Inc., Citibank, N.A., Citibank Japan Ltd., Citigroup Global Markets
Japan Inc., HSBC Holdings plc, and HSBC Bank plc; pursuant to the class notice dated August 3,
2017, amended September 14, 2017 related to the $148 million settlements with Defendants
Deutsche Bank AG, DB Group Services (UIX) Ltd., JPMorgan Chase & Co., JPMorgan Chase Bank,
National Association, and J.P. Morgan Securities plc; or pursuant to the class notice dated March 8,
2018 related to the $30 million settlement with The Bank of Tokyo-Mitsubishi UFJ, Ltd. (now
known as MUFG Bank, Ltd.) and Mitsubishi UF] Trust and Banking Corporation, the member of
the Settlement Class does not have to submit a new Proof of Claim and Release to participate in the
Settlement with the Settling Defendants. The Court hereby confirms the appointment of A.B, Data,
Ltd. as Settlement Administrator, and directs that the Settlement Administrator shall ensure that
each Proof of Claim and Release form provided to members of the Settlement Class contains a copy
of such release and covenant not to sue. However, each member of the Settlement Class’s claims
shall be released pursuant to Section 12 of the Settlement Agreement, regardless of whether the

Settlement Class Member executes a release and covenant not to sue pursuant to this paragraph 13.

 
 

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14, The Court hereby approves the Releasing Parties’ releases of the Released Claims
against the Released Parties as set forth in the Settlement Agreement and this Final Approval Order

as of the Effective Date.’

 

3 The Released Claims under the Settlement Agreement are as follows:

(A) The Releasing Parties finally and forever release and discharge from and covenant not to sue the Released
Parties for any and all manner of claims, including unknown claims, causes of action, cross-claims, counter-claims,
charges, liabilities, demands, judgments, suits, obligations, debts, sctoffs, rights of recovery, or liabilities for any
obligations of any kind whatsoever (however denominated), whether class, derivative or individual, in law or equity or
arising under constitution, statute, regulation, ordinance, contract, common law or otherwise in nature, for fees, costs,
penalties, fines, debts, expenses, attorneys’ fees, interest and damages, whenever incurred, for restitution or any other
payment of money, and for liabilities of any nature whatsoever (including joint and several), known or unknown,
suspected or unsuspected, asserted or unasserted, which Settling Class Members or any of them ever had, now has, or
hereafter can, shall or may have, representatively, derivatively or in any other capacity, against the Released Parties arising
from or relating in any way to conduct alleged in the Actions, or which could have been alleged in the Actions against
the Released Parties, including but not limited to conduct concerning any Euroyen-Based Derivatives or any similar
financial instruments priced, benchmarked, settled to or otherwise affected by Yen-LIBOR or Euroyen TIBOR
purchased, sold, held, traded, and/or transacted by the Representative Plaintiffs, Class Members, and/or Settling Class
Members (to the extent such similar financial instruments were entered into by a U.S. Person, or by a Person from or
through a location within the U.S.), or in which any of the foregoing otherwise had any interest, or including, but not
limited to, any alleged manipulation of Euroyen TIBOR and/or Yen-LIBOR under the Commodity Exchange Act, 7
US.C. § 1 et seq., or any other statute, regulation, or common law, or any purported conspiracy, collusion, racketeering
activity, or other improper conduct relating to Euroyen TIBOR and/or Yen-LIBOR (including, but not limited to, all
claims under Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1 et seq., the Racketeer Influenced and Corrupt
Organizations Act, 18 U.S.C. §§ 1961-1968, and any other federal or state statute, regulation, or common law), The
following claims shall not be released by this Settlement: (i) any claims against former employees of Settling Defendants
arising solely from those former employees’ conduct that occurred while not employed by any of the Settling
Defendants; (i) any claims against the named Defendants in these Actions other than Settling Defendants; (ili) any
claims against inter-dealer brokers or their employees or agents when and solely to the extent they were engaged as
employees or agents of the other Defendants or of inter-dealer brokers; or (iv) any claims against any Defendant who
may be subsequently added in these Actions, other than any Released Party. For the avoidance of doubt, Released
Claims does not include claims arising under foreign law based solely on transactions executed entirely outside the
United States by Settling Class Members domiciled outside the United States.

(B) Although the foregoing release is not a general release, such release constitutes a waiver of Section 1542 of
the California Civil Code (to the extent it applics to the Actions), which provides as follows:

A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
OR HER SETTLEMENT WITH THE DEBTOR.

This release also constitutes a waiver of any and all provisions, rights, and benefits of any federal, state or foreign law,
rule, regulation, or principle of law or equity that is similar, comparable, equivalent to, or which has the effect of, Section
1542 of the California Civil Code. The Settling Class Members acknowledge that they are aware that they may hereafter
discover facts in addition to, or different from, those facts which they know or believe to be true with respect to the
subject matter of this Agreement, but that it is their intention to release fully, finally, and forever all of the Released
Claims, and in furtherance of such intention, the release shall be irrevocable and remain in effect notwithstanding the
discovery or existence of any such additional or different facts. In entering and making this Agreement, the Parties
assume the risk of any mistake of fact or law and the release shall be irrevocable and remain in effect notwithstanding
any mistake of fact or law.

 
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15. The Court declares that the Settlement Agreement and the Final Approval Order
shall be binding on, and shall have res judicata and preclusive effect in, all pending and future
lawsuits or other proceedings against a Released Party involving the Released Claims that are
maintained by or on behalf of the Plaintiff or any other members of the Settlement Class, and shall
also be binding on their respective predecessors, successors and assigns, direct and indirect parents,
subsidiaries and affiliates, and on behalf of their current and former officers, directors, employees,
agents, ptincipals, members, trustees, estates, participants, representatives, fiduciaries, beneficiaries,
or legal representatives in their capacity as such, and the predecessors, successors, heirs, executors,
administrators, and assigns of each of the foregoing in their capacity as such, regardless of whether
the member of the Settlement Class previously initiated or subsequently initiates individual litigation
or other proceedings involving the Released Claims, and even if such member of the Settlement
Class never received actual notice of the Actions or this proposed Settlement.

16. The Court permanently bars and enjoins the Plaintiff and all members of the
Settlement Class from: (a) filing, commencing, prosecuting, intervening in, or participating (as class
members or otherwise) in any other lawsuit or administrative, regulatory, arbitration, or other
proceeding in any jurisdiction against a Settling Defendant or any of the Released Parties based on
the Released Claims; (b) filing, commencing, or prosecuting a lawsuit or administrative, regulatory,
arbitration, or other proceeding as a class action on behalf of any members of the Settlement Class
(including by seeking to amend a pending complaint to include class allegations or seeking class
certification in a pending action), against a Settling Defendant or any of the Released Parties based
on the Released Claims; or (c) organizing members of the Settlement Class into a separate group,
class, or subclass for purposes of pursuing as a purported class action any lawsuit or administrative,

regulatory, arbitration, or other proceeding (including by seeking to amend a pending complaint to

 

 
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include class allegations, or seeking class certification in a pending action) against a Settling
Defendant or any of the Released Parties based on the Released Claims.

17, The Court permanently bars and enjoins claims by any Person against a Settling
Defendant or any of the Released Parties (as defined in the Settlement Agreement) for contribution,
indemnification, or similar claims (however denominated) for all or a portion of any amounts paid
or awarded in the Actions by way of settlement, judgment, or otherwise. To the extent permitted by
law, the Court permanently bars and enjoins claims by the Settling Defendants and any Released
Parties (as defined in the Settlement Agreement) for contribution, indemnification, or similar claims
(however denominated) for all or a portion of any amounts paid or awarded in the Actions by way
of settlement, judgment, or otherwise against (a) Any of the other Defendants currently named in
the Actions; (b) Any other Person formerly named as a party in the Actions; or (c) Any other Person
subsequently added or joined as a party in the Actions. Should any court determine that any
Defendant is/was legally entitled to any kind of set-off, apportionment, contribution,
indemnification, or similar claims from a Settling Defendant arising out of or related to Released
Claims, any money judgment subsequently obtained by the Releasing Parties against any Defendant
shall be reduced to an amount such that, upon paying the entire amount, the Defendant would have
no claim for set-off, apportionment, contribution, indemnification, or similar claims against the
Settling Defendant.

18. Neither the Settlement Agreement (nor its exhibits), whether or not it shall become
final, nor any negotiations, documents exchanged among counsel for the Plaintiff and the Settling
Defendants in connection with settlement discussions, and discussions associated with them, nor the
Final Approval Order and Final Judgment are or shall be deemed or construed to be an admission,
adjudication, or evidence of: (a) any violation of any statute or law or of any liability or wrongdoing

by the Settling Defendants or any Released Party; (b) the truth of any of the claims or allegations

 
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alleged in the Actions; (c) the incurrence of any damage, loss, or injury by any Person; (d) the
existence ot amount of any artificiality of any interest benchmark or other interest rate; or (e) the
propriety of certification of a class other than solely for purposes of the Settlement. Further, neither
the Settlement Agreement (nor its exhibits), whether or not it shall become final, nor any
negotiations, documents exchanged among counsel for the Plaintiff and the Settling Defendants in
connection with settlement discussions, and discussions associated with them, nor the Final
Approval Order and Final Judgment, may be discoverable, offered or received in evidence, or used
directly or indirectly, in any way, whether in the Actions or in any other action or proceeding of any
nature, by any Person, except if warranted by existing law in connection with a dispute under the
Settlement Agreement or an action (including these Actions) in which the Settlement Agreement is
asserted as a defense. Notwithstanding anything to the contrary herein, the foregoing provisions do
not apply to discovery or cooperation materials provided by the Settling Defendants to the Plaintiff
or by the Plaintiff to the Settling Defendants in connection with the Settlement or the Actions. The
Parties, without the need for approval from the Court, may adopt such amendments, modifications,
and expansions of the Settlement Agreement and all exhibits thereto as (4) shall be consistent in all
material respects with the Final Approval Order; and (ii) do not limit the rights of Settling Class
Members.

19, The Court finds that, during the course of the Actions, the Parties and their
respective counsel at all times complied with the requirements of Rule 11 of the Federal Rules of
Civil Procedure as to each other. Any data or other information provided by members of the
Settlement Class in connection with the submission of claims shall be held in strict confidence,
available only to the Settlement Administrator, Class Counsel, and experts or consultants acting on

behalf of the Settlement Class. In no event shall a member of the Settlement Class’s data or

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personal information be made publicly available, except as provided for herein or upon Court Order
for good cause shown.

20. The Proof of Claim and Release form, Plan of Allocation, and the Supplemental
Agreement referenced in Section 24 of the Settlement Agreement are each approved as fair,
reasonable, and adequate.

21. The word “days,” as used herein, means calendar days. In the event that any date or
deadline set forth herein falls on a weekend or federal or state legal holiday, such date or deadline
shall be deemed moved to the first business day thereafter.

22. The Court’s certification of the Settlement Class and appointment of the Plaintiff as
Class Representative, as provided herein, is without prejudice to, or waiver of, the rights of any
Defendant to contest any other request by the Plaintiff to certify a class. The Court’s findings in this
Final Approval Order shall have no effect on the Court’s ruling on any motion to certify any class or
to appoint Class Representatives in the Actions or any challenge to the Plaintiff's capacity to litigate
or to represent a putative class, and no party may cite or refer to the Coutt’s approval of the

Settlement Class as binding or persuasive authority with respect to any such motion or challenge.

IT IS SO ORDERED.

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Signed this___ day of , 2019.

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ifop ota pte] George B. Daniels
eos States District Judge

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